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 4
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 5

 6
                               UNITED STATES DISTRICT COURT
 7
                             CENTRAL DISTRICT OF CALIFORNIA
 8
                                               Civil Action No. 2:21-CV-2445
 9     Tyler Spangler,
10           Plaintiff,                              1. Complaint for Copyright
                                                     Infringement
11           vs.
                                                     2. False Designation of Origin,
12     Adobe Inc.; Wavebreak Media                   False Descriptions, and Dilution
       Ltd.; Does 1-10;                              Forbidden
13
             Defendants
14                                                   DEMAND FOR JURY TRIAL
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             Plaintiff, by and through their attorney of record, alleges as follows:
20

21
                                      INTRODUCTION
22

23     1.   Plaintiff is a well-known digital artist engaged in the creation of original
24     artwork for a variety of high-end brands. Plaintiff’s artworks are original and
25     Tyler Spangler owns exclusive rights to unique two-dimensional graphic artworks
26     for use in prints, advertising, social media, and other mediums. Plaintiff owns
27     these designs in exclusivity and makes sales of products bearing these designs for
28     profit. Plaintiff’s business is predicated on its ownership of these designs and
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                                                                                  COMPLAINT
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 1     spends a considerable amount of time and resources creating top-quality,
 2     marketable and aesthetically-appealing designs. Customers of Plaintiff, including
 3     possible DOE defendants named herein, are fully aware that they can only utilize
 4     Plaintiff’s artworks to reproduce said designs, should they wish to do so, with a
 5     written agreement and grant of licensing rights from Plaintiff, and that they will
 6     not seek to make minor changes to Plaintiff’s proprietary work to reproduce the
 7     same elsewhere. They are also aware that use of these designs in furtherance of
 8     their business is in violation of both their contractual agreement with Plaintiff and
 9     Plaintiff’s copyrights. No other party is authorized to make sales of product
10     bearing Plaintiff’s proprietary designs without express permission from
11     Plaintiff. This action is brought to recover damages for direct, vicarious and
12     contributory copyright infringement arising out of the misappropriation of
13     Plaintiff’s exclusive designs by the Defendants, and each of them.
14

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16
                                            PARTIES

17     2.   Plaintiff Tyler Spangler (hereinafter, “Mr. Spangler”) is an artist based in
18     Seattle, Washington whose work has been featured and sold on many well-known
19     platforms and in collaboration with widely known brands.
20     3.   Defendant Adobe Inc. (hereinafter “Adobe”) principally resides in Seattle,
21     WA but has offices in Los Angeles, CA located at 3640 Holdrege Ave, Los
22     Angeles, CA 90016.
23     4.   Wavebreak Media Ltd. (hereinafter “Wavebreak”) is a private limited
24     company with offices in Ireland. Wavebreak was engaged by Adobe Inc. to create
25     content for the Adobe Spark platform. Wavebreak created the unauthorized
26     artwork that was published by Adobe Inc. and it infringes on Mr. Spangler’s
27     copyrights.
28

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                                                                                 COMPLAINT
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 1     5.   The true names and capacities of Defendants Does 1 through 10 are presently
 2     unknown to Mr. Spangler, who therefore sues them by such fictitious names. Mr.
 3     Spangler is informed and believes that each of the fictitiously named defendants
 4     is responsible in some capacity for matters herein alleged. Mr. Spangler will
 5     amend this complaint to state the true names and capacities of Does 1 through 10
 6     when they are ascertained.
 7     6.   Defendants DOES 1 through 10, inclusive, are other parties not yet identified
 8     who have infringed Plaintiff’s copyrights, have contributed to the infringement of
 9     Plaintiff’s copyrights, or have engaged in one or more of the wrongful practices
10     alleged herein. The true names, whether corporate, individual or otherwise, and
11     capacities of defendants sued herein as Does 1 through 10 are presently unknown
12     to Plaintiff at this time, and therefore, Plaintiff sues said defendants by such
13     fictitious names. Plaintiff will seek leave to amend this complaint to allege their
14     true names and capacities when the same have been ascertained.
15     7.   Plaintiff is informed and believes and thereupon alleges that at all times
16     relevant hereto each of Defendants acted in concert with each other, was the agent,
17     affiliate, officer, director, manager, principal, alter-ego, and/or employee of the
18     remaining defendants and was at all times acting within the scope of such agency,
19     affiliation, alter-ego relationship and/or employment; and actively participated in
20     or subsequently rarified and adopted, or both, each and all of the acts or conducts
21     alleged, with full knowledge of all the facts and circumstances, including without
22     limitation to full knowledge of each and every wrongful conduct and Plaintiff’s
23     damages caused therefrom.
24

25                                  Jurisdiction and Venue
26     8.   This is a civil action seeking damages and injunctive relief for copyright
27     infringement under the Copyright Act of the United States, 17 U.S.C § 101, et seq.
28

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                                                                                COMPLAINT
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 1     9.   The Court has original subject matter jurisdiction over copyright claims
 2     pursuant to 28 U.S.C. § 331 and 1338(a).
 3     10. This Court has personal jurisdiction over Defendants because, among other
 4     things, Defendants are doing business in the State of California and in this judicial
 5     district and acts of infringement complained of herein occurred in the State of
 6     California and in this judicial district.
 7     11. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and (c)
 8     because this infringement occurred in this district, and each Defendant either
 9     resides in this district or has substantial and continuous ties to this district.
10

11                                   FACTUAL ALLEGATIONS
12     12. Plaintiff Tyler Spangler is a well-known digital artist with over 300,000
13     followers on Instagram. He has created artworks for clients such as: Adobe,
14     Chanel, Coach, Facebook, Hermés, Instagram, Nike and Starbucks. He also has
15     his own popular online store where he sells his artworks.
16     13. Plaintiff is the owner and author of a visual artwork called “You Would Be
17     Surprised What You’re Capable Of” (“Subject Design”).
18     14. Plaintiff applied for a copyright from the United States Copyright Office for
19     the Subject Design and was granted Registration VAu 1-141-162 effective on
20     December 8, 2020.
21     15. Tyler first created the Subject Design on or about October 22, 2018.
22     16. On or about October 22, 2018 Mr. Spangler posted a digital image of the
23     Subject Design on his Instagram account (@Tyler_Spangler).
24     17. On February 4, 2019 Mr. Spangler posted a digital image of the Subject
25     Design on his account on Bēhance, a platform owned and operated by Adobe Inc.
26     18. Mr. Spangler received 6,336 likes on his post on Instagram. He also sold a
27     considerable number of products bearing the Subject Design. It is one of his most
28     recognizable artworks.

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                                                                                     COMPLAINT
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 1     19. The Subject Design is an artwork created by Mr. Spangler. Mr. Spangler
 2     creates his artworks based on phrases that are uniquely relevant to ongoings in his
 3     life. Plaintiff’s art is a way to reinforce motivation and support for his commitment
 4     to personal development and self-improvement.
 5     20. The artwork is created in a style that has become synonymous with Tyler
 6     Spangler’s artworks. His artworks can be described as colorful, resembling a flyer
 7     or a poster, related to mental health, and resembling the psychedelic style of the
 8     60s.
 9     21. Mr. Spangler depends on his art to make a living, and Adobe Inc. is a
10     company that has established a brand of supporting, encouraging and giving artists
11     the tools they need to create their artworks.
12     22. Adobe is the creator of platforms such as Adobe Photoshop, Adobe Spark,
13     Adobe Illustrator and many more products that are integral to many artists and
14     aspiring artists. Adobe has positioned itself as a hero and champion for artists
15     worldwide. There is no other platform as widely used by artists as the suite of
16     Adobe products.
17     23. Mr. Spangler worked on the Adobe Font Fridays campaign that was a
18     collaboration between Adobe Inc. and Kvell. Mr. Spangler was hired by Kvell who
19     was hired by Adobe Inc. to create the Font Fridays campaign for Adobe Inc. Mr.
20     Spangler contributed two artworks to the Adobe and Kvell campaign.
21     24. Despite Adobe Inc’s positioning as a hero and champion for artists
22     worldwide, after becoming familiar with Mr. Spangler’s work, Adobe Inc.
23     intentionally chose to copy Mr. Spangler’s artwork, use it without his permission
24     for their profit and Adobe Inc. even went as far as to give credit to a different artist
25     for the starry background utilized in the infringing artwork they published.
26

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                                                                                    COMPLAINT
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 1

 2

 3                YOU WOULD BE SURPRISED WHAT YOU’RE CAPABLE OF
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10
                  Tyler Spangler’s                    Infringing Artwork
11                Copyrighted Artwork
12
       25. Tyler’s art and style has become so recognizable in fact, that it was one of
13
       Tyler’s fans that alerted him to the infringement.
14
       26. Tyler’s fan recognized the artwork published on Adobe’s website, Adobe
15
       Spark, and also took note of the fact that Tyler was not credited on the artwork.
16
       But rather, the name that was credited on the image was Paul Gilmore, who was
17
       the creator of the background that was used in the unauthorized image that bears
18
       a similarity to the background in Mr. Spangler’s artwork.
19

20
                               ADOBE’S INFRINGING ACTIVITIES
21
       27. Adobe was founded in December 1982. According to Adobe Inc.’s website,
22
       Adobe is a software company that currently offers products and services through
23
       three segments: digital media, digital experience and publishing.
24
       28. Adobe owns the Creative Cloud, which is a collection of 20+ apps and
25
       services for photography, design, video, drawing, illustration and more.
26
       29. Adobe owns a platform known as Bēhance, which Adobe created for artists
27
       to showcase and discover the work of other artists.
28

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                                                                                  COMPLAINT
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 1     30. On their website, Adobe markets their creative cloud by encouraging
 2     customers to purchase and join their global creative community.
 3     31. Article 6.2 of Adobe’s Terms of Use state, “You must not misuse the
 4     Services or Software. For example, you must not: Share Content or Creative Cloud
 5     Customer Fonts or otherwise engage in behavior that violates anyone’s Intellectual
 6     Property Rights.”
 7     32. Article 19 of Adobe’s Terms of Use states, “we respect the Intellectual
 8     Property Rights of others, and we expect our users to do the same.”
 9     33. On Adobe’s Bēhance website community rules, they state, “Don’t present
10     other people’s work as your own or overstate your own role in creating something.
11     If you aren’t sure whether your use of someone else’s content or trademark in your
12     own work is legal, you can consult publicly available reference materials at the
13     U.S. Copyright website, the U.S. Patent & Trademark Office website, the Lumen
14     Project website, or talk to an intellectual property attorney.”
15     34. And further speaking to how Adobe has established itself as the champion
16     for artists and protector of their intellectual property rights, on October 20, 2019
17     Adobe announced that they are launching the “Content Authenticity Initiative to
18     address the challenges of deepfakes and deceptively manipulated content. Adobe’s
19     heritage is built on trustworthy creative solutions, and the CAI’s mission is to
20     increase trust and transparency online with an industry-wide attribution
21     framework that empowers creatives and consumers alike.”
22     35. This Content Authenticity Initiative was put forward as an effort by Adobe
23     to help creatives and artists thwart digital art theft. The irony is the extent to which
24     Adobe has gone to give lip service to how important preservation of intellectual
25     property rights is, only for Adobe Inc. and Wavebreak Media Ltd. to egregiously
26     violate Mr. Spangler’s intellectual property rights.
27

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                                                                                    COMPLAINT
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 1                         WAVEBREAK’S INFRINGING ACTIVITIES
 2     36. From Wavebreak’s website homepage, “Wavebreak Media is a leading
 3     creator of premium content.”
 4     37. Adobe alleges that Wavebreak was the creator of the infringing artwork, and
 5     that Adobe Inc. only published the unauthorized artwork created by Wavebreak.
 6     38. Adobe Inc. hired Wavebreak Media Ltd. for the purposes of creating content,
 7     in this instance, for the Adobe Spark platform.
 8     39. The Adobe Spark platform, according to the website, is used to “create social
 9     graphics, web pages, and short videos in minutes.”
10     40. Having been previously acquainted with Mr. Spangler’s work after the Kvell
11     and Adobe Font Fridays collaboration campaign that Mr. Spangler provided art
12     for, Adobe saw and liked Mr. Spangler’s work, which was a perfect fit for their
13     platforms.
14     41. Adobe and Wavebreak thought they could get away with the infringement
15     because they changed some aspects of the artwork, but the artworks are strikingly
16     similar.
17     42. Adobe Inc. went as far as to give Paul Gilmore credit and attribution for the
18     background of the artwork, as can be seen here:
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                                                                              COMPLAINT
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 1

 2     43. Mr. Spangler has established a great deal of his livelihood through being
 3     credited for his work on platforms such as Adobe Spark. Defendants created and
 4     published the Subject Design without permission and built their goodwill at Mr.
 5     Spangler’s expense.
 6     44. This lawsuit seeks all damages to which Mr. Spangler is entitled for the
 7     unlawful acts of Defendants.
 8     45. Plaintiff is informed and believes and thereon alleges that Defendants, each
 9     of them, had access to the Subject Design, including without limitation, through
10     access to Plaintiff’s Subject Design that was displayed on the Adobe owned
11     platform Bēhance.
12     46. Plaintiff is informed and believes and thereon alleges that, without Plaintiff’s
13     authorization, Defendants purchased, sold, marketed, advertised, distributed,
14     caused to be manufactured, imported and/or distributed artworks featuring a
15     design which is identical, or substantially similar to, the Subject Design.
16
                               FIRST CLAIM FOR RELIEF
17                 COPYRIGHT INFRINGEMENT – 17 U.S.C. §§ 106, ET SEQ.
                     (WILLFUL, DIRECT, CONTRIBUTORY, VICARIOUS)
18                           (AGAINST ALL DEFENDANTS)
19     47. Mr. Spangler re-alleges the allegations in Paragraphs 1 through 32.
20     48. Upon information and belief, Defendants have produced, reproduced,
21     prepared derivative works based upon, distributed, and publicly displayed Mr.
22     Spangler’s protected work or derivatives of Mr. Spangler’s protected work without
23     his consent. Defendants’ acts violate Mr. Spangler’s exclusive rights under the
24     Copyright Act, 17 U.S.C. §§ 106 and 501, including Mr. Spangler’s exclusive
25     rights to produce, reproduce, and distribute copies of his work, to create derivative
26     works and to publicly display his work.
27     49. Defendants’ infringement has been undertaken knowingly, and with intent to
28     financially gain from Mr. Spangler’s protected and copyrighted work. Defendants

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                                                                                 COMPLAINT
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 1   have failed to exercise their right and ability to supervise persons within their
 2   control to prevent infringement, and they did so with intent to further their
 3   financial interest in the infringement of Mr. Spangler’s Subject Design.
 4   Accordingly, Defendants have directly, contributorily and vicariously infringed
 5   Mr. Spangler’s copyrighted work.
 6   50. Because of Defendants’ infringing acts, Mr. Spangler is entitled to his actual
 7   damages and Defendants’ profits attributed in an amount to be proved at trial and
 8   all other relief allowed under the Copyright Act. Defendants’ infringement has
 9   caused and is causing irreparable harm to Mr. Spangler, for which he has no
10   adequate remedy at law. Unless this Court restrains Defendants from infringing
11   Mr. Spangler’s protected work, the harm will continue to occur in the future.
12   Accordingly, Mr. Spangler is entitled to preliminary and permanent injunction.
13   51. Defendants’ acts of copyright infringement as alleged above were, and
14   continue to be, willful, intentional and malicious, subjecting Defendants, and each
15   of them, to liability for statutory damages under Section 504(c)(2) of the Copyright
16   Act in the sum of up to one hundred fifty thousand dollars ($150,000) per
17   infringement. Further, Defendants willfully and intentionally misappropriated
18   and/or infringed Plaintiff’s copyrighted Subject Design, which renders
19   Defendants, and each of them, liable for the enhanced and statutory damages as
20   described herein. Within the time permitted by law, Plaintiff will make its election
21   between actual damages and statutory damages.
22
                               SECOND CLAIM FOR RELIEF
23                          (For Vicarious Copyright Infringement)
24   52. Plaintiff repeats, re-alleges and incorporates herein by reference as though
25   fully set forth the allegations contained in Paragraphs 1 through 52, inclusive, of
26   this Complaint.
27   53. Plaintiff is informed and believes and thereon alleges that Defendants
28   knowingly induced, participated in, aided and abetted in and resultantly profited

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                                                                              COMPLAINT
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 1   from the illegal reproduction, importation, purchase, marketing, advertisement,
 2   distribution and/or sales of product featuring the Subject Design as alleged herein
 3   above.
 4   54. Plaintiff is informed and believes and thereon alleges that Defendants are
 5   vicariously liable for the infringement alleged herein because they had the right
 6   and ability to supervise the infringing conduct and because they had a direct
 7   financial interest in the infringing product.
 8   55. By reason of the Defendants’ acts of contributory and/or vicarious
 9   infringement as alleged above, Plaintiff has suffered and will continue to suffer
10   substantial damages to its business in an amount to be established at trial, as well
11   as additional general and special damages in an amount to be established at trial.
12   56. Due to Defendants’ acts of contributory and/or vicarious copyright
13   infringement as alleged herein, Defendants have obtained direct and indirect
14   profits they would have not otherwise realized but for its infringement of the
15   Subject Design. As such, Plaintiff is entitled to disgorgement of Defendants’
16   profits directly and indirectly attributable to Defendants’ infringement of the
17   Subject Design, an amount to be established at trial.
18   57. Plaintiff is informed and believes and thereon alleges that Defendants, and
19   each of them, have committed acts of infringement alleged herein with actual or
20   constructive knowledge of Plaintiff’s rights such that Plaintiff is entitled to a
21   finding of willful infringement.
22   58. Plaintiff is informed and believes and thereon alleges that Defendants
23   infringed Plaintiff’s copyrights with knowledge that Plaintiff owned the exclusive
24   rights in the Subject Designs, and that Defendants’ acts described herein
25   constituted infringement, and/or that Defendants, and each, were reckless in
26   committing the infringement alleged herein.
27   59. Per the above, Defendants’ acts of copyright infringement as alleged above
28   were, and continue to be, willful, intentional and malicious, subjecting

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                                                                              COMPLAINT
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 1   Defendants, and each of them, to liability for statutory damages under Section
 2   504(c)(2) of the Copyright Act in the sum of up to one hundred fifty thousand
 3   dollars ($150,000) per infringement. Further, Defendants willfully and
 4   intentionally misappropriated and/or infringed Plaintiff’s copyrighted Subject
 5   Design, which renders Defendants, and each of them, liable for the enhanced and
 6   statutory damages as described herein. Within the time permitted by law, Plaintiff
 7   will make its election between actual damages and statutory damages.
 8
                           SECOND CLAIM FOR RELIEF
 9                             15 U.S.C. § 1125
         FALSE DESIGNATION OF ORIGIN, FALSE DESCRIPTIONS, AND DILUTION
10                                FORBIDDEN
                          (AGAINST ALL DEFENDANTS)
11

12   60. Mr. Spangler re-alleges the allegations in Paragraphs 1 through 59.
13   61. 15 U.S.C. § 1125 prohibits, “uses in commerce any word, term, symbol, or
14   device, or any combination thereof, or any false designation of origin, false or
15   misleading description of fact, or false or misleading representation of fact, which
16   is likely to cause confusion, or to cause mistake, or to deceive as the affiliation,
17   connection, or association of such person with another person, or as to the origin,
18   sponsorship, or approval of his or her goods, services, or commercial activities by
19   another person.”
20   62. By engaging in the alleged conduct, Defendants have engaged in the use in
21   commerce of a combination of words, terms, symbols and devices likely to cause
22   confusion as to the affiliation, connection or association of Mr. Spangler with
23   Defendants with respect to the unauthorized artwork.
24   63. As an actual and proximate result of Defendants’ false designation of origin,
25   Defendants have unjustly enriched themselves by, among other things, depriving
26   Mr. Spangler of the compensation to which he is rightly entitled and taking credit
27   for Mr. Spangler’s work. Mr. Spangler is thus entitled to restitution of such sums
28   in an amount to be proved at trial.

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                                                                              COMPLAINT
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 1                              PRAYER FOR RELIEF
 2   Plaintiff Tyler Spangler prays for judgment in his favor against Defendants, and
 3   each Defendant, as follows:
 4     A. That Defendants’ products and materials that infringe on Mr. Spangler’s
 5        copyright, as well as any other articles that contain or embody copies of Mr.
 6        Spangler’s original work, be impounded pursuant to 17 U.S.C. § 503(a);
 7     B. That Defendants’ products and materials that infringe on Mr. Spangler’s
 8        copyright as well as any other articles that contain or embody copies of Mr.
 9        Spangler’s original work, be destroyed pursuant to 17 U.S.C. § 503(b);
10     C. That Defendants be required to provide a full accounting to Mr. Spangler of
11        all profits, benefits and goodwill derived from their use of You Would Be
12        Surprised What You’re Capable Of and their production, reproduction, and
13        preparation of derivative works based on distribution, and display of
14        unauthorized You Would Be Surprised What You’re Capable Of in all
15        media, from all sources, worldwide;
16     D. That Defendants be ordered to pay Mr. Spangler all damages, including
17        future damages, that Mr. Spangler has sustained or will sustain as a result of
18        the acts complained of herein, and that Mr. Spangler be awarded any profits
19        derived by Defendants as a result of said acts, or as determined by said
20        accounting;
21     E. That Defendants be ordered to pay Mr. Spangler punitive damages as a result
22        of Defendants’ deliberate and willful misconduct;
23     F. That Defendants be ordered to pay Mr. Spangler pre-judgment and post-
24        judgment interest on all applicable damages.
25     G. That Defendants be permanently enjoined from all further infringement of
26        You Would Be Surprised What You’re Capable Of; and
27     H. Such other or further relief as the Court may deem proper.
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                                                                             COMPLAINT
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 1   DEMAND FOR JURY TRIAL
 2

 3   Respectfully submitted,
 4   Dated: March 18, 2020
 5                                     OMEED LAW
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 7                                     By:_______________           _
 8                                             OMEED TABIEI, ESQ.
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                                                                        COMPLAINT
